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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


GRANT TAYLOR, Individually and on          )
Behalf of All Others Similarly Situated,   )
                                           )
                      Plaintiff,           )
                                           )
                      v.                   )
                                           )
FLOOR & DECOR HOLDINGS, INC.,              )
THOMAS V. TAYLOR, JR., TREVOR              )
                                               CIVIL ACTION:     1:19-cv-02270-SCJ
S. LANG, ARES CORPORATE                    )
OPPORTUNITIES FUND III, L.P., FS           )
CAPITAL PARTNERS VI, LLC, FS               )
EQUITY PARTNERS VI, L.P., FS               )
AFFILIATES VI, L.P. and FREEMAN            )
SPOGLI MANAGEMENT CO., L.P.,               )
                                           )
                      Defendants.          )
                                           )

             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT

      Pursuant to Local Rule 3.3, and Federal Rule of Civil Procedure 7.1,

Defendants Floor & Decor Holdings, Inc., Thomas V. Taylor, Jr., Trevor S. Lang,

Ares Corporate Opportunities Fund III, L.P., FS Capital Partners VI, LLC, FS

Equity Partners VI, L.P., FS Affiliates VI, L.P., and Freeman Spogli Management

Co., L.P. respectfully submit this Certificate of Interested Persons and Corporate
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Disclosure Statement.

      1.       The undersigned counsel of record for a party to this action certifies

that the following is a full and complete list of all parties in this action, including

any parent corporation and any publicly held corporation that owns 10% or more

of the stock of any party:

      The parties to this action are:

      (a)      Plaintiff: Grant Taylor; and

      (b)      Defendants: Floor & Decor Holdings, Inc., Thomas V. Taylor, Jr.,

               Trevor S. Lang, Ares Corporate Opportunities Fund III, L.P., FS

               Capital Partners VI, LLC, FS Equity Partners VI, L.P., FS Affiliates

               VI, L.P., and Freeman Spogli Management Co., L.P.

      Floor & Decor Holdings, Inc. states that it is a corporation existing under the

      laws of the State of Delaware, it has no parent corporation, and there is no

      publicly held company that owns 10 percent or more of its stock.

      2.       The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations

having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case:

      Defendants are not aware, at this time, of any other such persons.


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      3.       The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this proceeding:

      For the Plaintiff: John C. Herman and Peter Jones of Herman Jones LLP;

      Shawn A. Williams of Robbins Geller Rudman & Dowd LLP; and Michael

      I. Fistel, Jr. of Johnson Fistel, LLP.

      For the Defendants: Michael R. Smith, B. Warren Pope, and Bethany M.

      Rezek of King & Spalding LLP.

      Respectfully submitted this 17th day of July, 2019.

                                               /s/ Michael R. Smith
                                               Michael R. Smith
                                               Georgia Bar No. 661689
                                               B. Warren Pope
                                               Georgia Bar No. 583723
                                               Bethany M. Rezek
                                               Georgia Bar No. 553771
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                                               brezek@kslaw.com

                                               Counsel for Defendants




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                        RULE 7.1(D) CERTIFICATION

      The undersigned counsel certifies that this document has been prepared with

one of the font and point selections approved by the Court in Local Rule 5.1(C).

                                            /s/ Michael R. Smith
                                            Michael R. Smith
                                            Georgia Bar No. 661689

                                            Counsel for Defendants
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                         CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on this day a copy of the foregoing

CERTIFICATE        OF     INTERESTED         PERSONS        AND      CORPORATE

DISCLOSURE STATEMENT was filed and served using the Court’s CM/ECF

system which will send notification of such filing to ECF registered participants.

      DATED this 17th day of July, 2019.

                                                    /s/ Michael R. Smith
                                                    Michael R. Smith
                                                    Georgia Bar No. 661689

                                                    Counsel for Defendants
